                 Case: 1:07-cr-00271-SO Doc #: 168 Filed: 10/10/07 1 of 6. PageID #: 598
AO 245B (Rev. 6/05) Sheet 1 - Judgment in a Criminal Case



                                    United States District Court
                                                Northern District of Ohio

          UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                      v.
              BELINDA J. JORDAN                                      Case Number:                1:07CR271-3

                                                                     USM Number:                 31276-160

                                                                     DONALD J. O’CONNOR
                                                                     Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to count(s): 1, 2, 4, AND 15 of the Indictment .
[]       pleaded nolo contendere to counts(s)         which was accepted by the court.
[]       was found guilty on count(s)       after a plea of not guilty.

         The defendant is adjudicated guilty of these offense(s):

Title & Section                Nature of Offense                                Offense Ended          Count
18 U.S.C. §371, §1344          Bank Fraud, a Class B felony                        11/30/2005             1
18 U.S.C. §1344(1)(2) and §2 Aiding and Abetting, Bank Fraud, a Class B felony 11/30/2005                 2
18 U.S.C. §513(a) and §2       Uttering Forged Securities, and Aiding and Abetting 8/5/2005               4
20 U.S.C. §1708 and §2         Theft of the Mail, Aiding and Abetting                8/5/2005            15
        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)        .


[]       Count(s)       (is)(are) dismissed on the motion of the United States.

        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and the United States Attorney of
material changes in the defendant’s economic circumstances.

                                                                                         10/9/2007
                                                                               Date of Imposition of Judgment


                                                                                  /S/SOLOMON OLIVER, JR.
                                                                                   Signature of Judicial Officer


                                                                  SOLOMON OLIVER, JR., United States District Judge
                                                                         Name & Title of Judicial Officer


                                                                                       October 10, 2007
                                                                                            Date
                 Case: 1:07-cr-00271-SO Doc #: 168 Filed: 10/10/07 2 of 6. PageID #: 599
AO 245B (Rev. 6/05) Sheet 2 - Imprisonment
CASE NUMBER:                1:07CR271-3                                                                  Judgment - Page 2 of 6
DEFENDANT:                  BELINDA J. JORDAN


                                                         IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 1 day with the United States Marshals to be released at 3:00 p.m. on 10/9/2007 .



[]       The court makes the following recommendations to the Bureau of Prisons:



[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before 2:00 p.m. on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Office.

                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered on                                      to

at                                           , with a certified copy of this judgment.



                                                                                              UNITED STATES MARSHAL


                                                                                         By
                                                                                                 Deputy U.S. Marshal
                 Case: 1:07-cr-00271-SO Doc #: 168 Filed: 10/10/07 3 of 6. PageID #: 600

1:07CR271-3BELINDA J. JORDANAO 245B (Rev. 6/05) Sheet 3 - Supervised Release
CASE NUMBER:                                                                                                            Judgment - Page 3 of 6
DEFENDANT:

                                                  SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years .




The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the Court.

[U]      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
         applicable.)
[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
[]       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
         is a student, as directed by the probation officer. (Check, if applicable.)
[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                 STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
      each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
      any contraband observed in plain view of the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
             Case: 1:07-cr-00271-SO Doc #: 168 Filed: 10/10/07 4 of 6. PageID #: 601

1:07CR271-3BELINDA J. JORDANAO 245B (Rev. 6/05) Sheet 4 - Supervised Release
CASE NUMBER:                                                                                  Judgment - Page 4 of 6
DEFENDANT:




                     SPECIAL CONDITIONS OF SUPERVISED RELEASE
The defendant shall provide the probation officer access to all requested financial information.

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
probation officer.

The defendant shall participate in the Home Confinement Program with Electronic Monitoring for a period of 4
months, to commence no later than 30 calendar days from sentencing. The defendant shall be required to
remain in his/her residence unless given permission in advance by the probation officer to be elsewhere. The
defendant may leave his/her residence to work and receive medical treatment and to attend religious services.
The defendant shall wear an electronic monitoring device, follow electronic monitoring procedures and submit
to random drug/alcohol tests as specified by the probation officer. The defendant may participate in the
Earned Leave Program under terms set by the probation officer. The defendant is not required to pay the
costs associated with the Home Confinement Program.
                  Case: 1:07-cr-00271-SO Doc #: 168 Filed: 10/10/07 5 of 6. PageID #: 602
AO 245B (Rev. 6/05) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  1:07CR271-3                                                                                         Judgment - Page 5 of 6
DEFENDANT:                    BELINDA J. JORDAN


                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                     Assessment                            Fine                       Restitution
      Totals:                                           $ 400                              $ -0-                       $ 4800



[]    The determination of restitution is deferred until . An amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

[U] The defendant must make restitution (including community restitution) to the following payees in the amounts listed
    below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment unless
      specified otherwise in the priority order of percentage payment column below. However, pursuant to 18 U.S.C. §
      3664(i), all nonfederal victims must be paid before the United States is paid.

                                                         *Total
Name of Payee                                             Loss                   Restitution Ordered           Priority or Percentage

U.S. Bank                                                                                $ 4800
17500 Rockside Road
Bedford, Ohio 44146
Attn: Harold DeBoe, Security Manager

      TOTALS:                                               $                            $ 4800


[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant must pay interest on restitution and a fine of more than $2500, unless the restitution or fine is paid in
      full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on
      Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

[ ] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [ ] The interest requirement is waived for the              [] fine      [] restitution.

      [ ] The interest requirement for the            [] fine      [] restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994 but before April 23, 1996.
                  Case: 1:07-cr-00271-SO Doc #: 168 Filed: 10/10/07 6 of 6. PageID #: 603
AO 245B (Rev. 6/05) Sheet 6 - Criminal Monetary Penalties
CASE NUMBER:                 1:07CR271-3                                                                                    Judgment - Page 6 of 6
DEFENDANT:                   BELINDA J. JORDAN

                                                SCHEDULE OF PAYMENTS
     Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    []    Lump sum payment of $ due immediately, balance due

           [ ] not later than or
           [ ] in accordance with        [ ] C,     [ ] D, [ ] E, or     [ ] F below; or

B    []    Payment to begin immediately (may be combined with                  [] C        [ ] D, or    [ ] F below); or

C    []    Payment in equal installments of $ over a period of , to commence days after the date of this judgment; or

D    []    Payment in equal installments of $ over a period of , to commence days after release from imprisonment to a
           term of supervision; or

E    []    Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
           imprisonment. The Court will set the payment plan based on an assessment of the defendant's ability to pay at
           that time; or

F    [U] Special instructions regarding the payment of criminal monetary penalties:
         Defendant shall pay at least 10% of her gross monthly income towards penalties.
     [U] A special assessment of $ is due in full immediately as to counts 1, 2, 4, and 15 of the indictment.
         PAYMENT IS TO BE MADE PAYABLE AND SENT TO THE CLERK, U.S. DISTRICT COURT

     []    After the defendant is release from imprisonment, and within 30 days of the commencement of the term of
           supervised release, the probation officer shall recommend a revised payment schedule to the Court to satisfy
           any unpaid balance of the restitution. The Court will enter an order establishing a schedule of payments.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal penalties, except those payments made through the Federal Bureau of
Prisons' Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several (Defendant name, Case Number, Total Amount, Joint and Several Amount and corresponding
     payee):

[]   The defendant shall pay the cost of prosecution.
[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest; (4) fine principal; (5)
fine interest; (6) community restitution; (7) penalties; and (8) costs, including cost of prosecution and court costs.
